Form OCP

                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of California

In    Yellow Cab Cooperative, Inc.                         Case No.: 16−30063 DM 11
Re:
   aka All Taxi Electronics                      Chapter: 11
        Debtor(s)




                                  NOTICE OF ORDER CONFIRMING PLAN




    Notice is hereby given of the entry of an order of this court on 05/24/2018 confirming the plan of reorganization
filed by the debtor(s) on April 19, 2018 .



Dated: 5/24/18                                    For the Court:


                                                  Edward J. Emmons
                                                  Clerk of Court
                                                  United States Bankruptcy Court




      Case: 16-30063        Doc# 773-1        Filed: 05/24/18      Entered: 05/24/18 17:25:01          Page 1
                                                        of 1
